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Good afternoon Your Honor,

       I never realized the biggest threat to our country would come from those I had sworn to protect,

like Mr. Klein, the former president, elected officials, and his supporters. Because of people like him, I

lost my career, my health, and my financial stability. In the middle of all the chaos of January 6, I was

surprised months later to learn that Mr. Klein, a US State Department-appointed government official,

someone who took the same oath to protect and defend the United States Constitution as I did, would

take part in doing the exact opposite. Instead of assisting me to quell the violence, he joined the fray.



       Backed and supported by the mob, he became combative and assaulted me multiple times in

the middle of the tunnel. Front and center, for roughly 15-20 minutes, right after they broke the glass

door of the tunnel, Mr. Klein was undeterred by the police presence, command, or the violent fighting

that he was spearheading. A minute of fighting without backup in the tunnel felt like an eternity; I went

from protecting the Capitol building to fighting for my survival while trying to protect those inside

regardless of who they were.



       Seeing this clean-cut, white male, wearing an olive-green jacket and a red MAGA hat relentlessly

attacking me, pushing me back and pulling me downward, by and against my round shield even as I

yelled verbal commands and raise my bloody right hand trying to get him to stop and back the fuck up,

he chose the violence even when I was attempting to help a female rioter who was being crushed.

In fact, he and another rioter tried to take my shield away at the same time and once he got tired, he

moved behind other rioters and used them as human shields to continue pushing harder. He then

grabbed my shield with both hands in his attempt to disarm me yet again. Mr. Klein’s intent was to

hurt me and gain entry forcibly through the tunnel. He then picked items from the floor and lanced
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them at us. Even when we managed to close the broken doors, he began to pull them open so they

could continue their onslaught.



       Seeing that his efforts were futile, he began to call for other like-minded rioters to take his

place. “We need fresh people; we need fresh patriots” he called out a couple of times after being

repelled. He was an active participant who chose to take part in multiple felonies to the point we

couldn’t tend our injured officers, therefore weakening our response and our ability to respond to the

insurrectionists properly. He intentionally impeded and prevented me from doing my duties as a

member of the Capitol Police Civil Disturbance Unit. His interference prolonged the mayhem,

contributed to all my injuries, and put everyone’s life and safety at risk during the unpredictable mob.



       I kept my oath to duty and defend the Capitol ahead of my safety and my family because I knew

what was at stake and we thought that violent people like Mr. Klein were going to return to finish what

they started with firearms. For us to have closure, those rioters who assaulted us need to be held

accountable.



       Today, he impudently is seeking leniency and sounding remorseful or saying that he was

peaceful and that he tried to help the officers, adding insult to our injuries when in reality, he did the

opposite. His duplicity is well evident. It wasn’t “a lapse of judgment or a caught up in the moment”

that got him to do what he did. He chose to participate in the violence and attack us and when he

didn’t attack, he encouraged others to do the same. He had opportunities to leave but chose to instead

join the “Heave ho” push to overwhelm my post, nearly crushing me to death.
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         He contributed to the violent event that ended my law enforcement career. I can no longer do

the job I loved and trained my whole life for due to my injuries. The whole country watched it live on

TV and it was horrific chaos. I was in the thick of the hand-to-hand battle, holding my post while it was

happening, and I barely survived it. I still have PTSD, remembering what Mr. Klein did to me and my

colleagues that day. The voices, the screams, the agony, but mostly, I remember the betrayal from

those who claim to support the police, like him.



         He should lose his security clearance and be banned from working in city, state, and federal

government positions of public trust. He is a danger to society and to our government. Don’t let his

privileged life fool you with the character letters that others have written about how good of a person

he is or was. On January 6, he demonstrated who he really is and what he is capable of doing. I’m one

of many of his victims; I am willing to do and have done a lot for my country. I just never realized the

biggest threat to our country would come from those I had sworn to protect, like Mr. Klein, the former

president, and his supporters. Because of people like him, I lost my career, my health, and my financial

stability. He is not the victim of January 6. He was a violent participant, and he would not hesitate to

return to the Capitol and again go through multiple layers of security to assault me if given a mulligan.

I’m asking you for the maximum number of years in prison to deter him and others from repeating this

crime.

         Your Honor, all those elected officials, and their staff made it out safely on January 6. They

were not harmed, but not because of the lack of trying by the mob that Mr. Klein was part of. It was

because of Officers, like me, who risked our lives to stop people like HIM from threatening, killing,

executing, and overthrowing our government officials.


Thank you.
